O AO 247 (N C/W 03/08) O rder Regarding M otion for Sentence Reduction



                                        U NITED STATES D ISTRICT COURT
                                                                         for the

                                                        Western District of North Carolina

                     United States of America                              )
                                v.                                         )
                                                                           )   Case No:    5:03CR37
                        William Frederick Tate
                                                                           )   USM No: 20115-058
Date of Previous Judgment:            4/18/05                              )   R. Andrew Murray
(Use Date of Last Amended Judgm ent if Applicable)                         )   Defendant’s Attorney


                      Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,

IT IS ORDERED that the motion is:
        DENIED .    GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                     the last judgment issued) of               months is reduced to                                          .



REASON FOR DECISION:


In the Court's discretion, the sentence of the Defendant will not be reduced due to the Defendant’s criminal history score,
the length of time Defendant was engaged in the conspiracy, as well as the large quantity of drugs involved. See 18 U.S.C.
§ 3553(a)(1) and 18 U.S.C. § 3553(a)(2)(B) and (C).




IT IS SO ORDERED.


                                                                                     Signed: March 17, 2009




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